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UNITED sTATEs DISTRICT COURT F“~""#S 99773/-\99
WESTERN DlsTRIcT oF TENNESSEE _
Western Division 05 ~M- "7 PM i' 20

UNITED STATES OF AMERICA

  

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` tail tit ; -_:\.i`-'ri:’§
'vs` ease No. 2:05cr20190-2-D

COREY C. HAYES

 

ORDER OF DETENT|ON PENDING TRIAL
F|ND|NGS
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending tn`al.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

ARRAIGNMENT SET FOR WEDNESDAY, JULY 13, 2005 AT 10:00 A.M. BEFORE
MAGISTRATE JUDGE DIANE K. VESCOVO, COURTROOM #5, 3RD FLOOR

D|RECT|ONS REGARD|NG DETENT|ON

COREY C. HAYES is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. COREY C. HAYES shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshai for
the purpose of an appearance in connection with a Court proceedingl

r""""'
Date: July 6, 2005

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE J`UDGE

Th:'s document entered on the docket
with Ftu|e 55 and/cr 32(b} FRCrP on

 
 

UNITED sATE DsTIIC COUR - WE"RNT DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20190 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

